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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


      UNITED STATES, et al.,

                                     Plaintiffs,

             vs.                                               No. 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                                     Defendant.


             GOOGLE LLC’S EMERGENCY MOTION FOR ENLARGEMENT OF
               THE PAGE LIMITS FOR SUMMARY JUDGMENT BRIEFING

            PURSUANT TO Local Civil Rules 7(F)(3) and 56(B), Defendant Google LLC

     (“Google”) moves for an order enlarging the page limits for summary judgment briefing as

     follows: 45 pages for opening briefs, 45 pages for opposition briefs, and 35 pages for replies.

     The grounds and reasons for granting this relief are stated in the accompanying memorandum

     of law. A proposed order is submitted herewith.

            This motion is filed as an emergency motion because opening summary judgment

     briefs are due on April 26, 2024, and a decision by the Court is needed in advance of that date.

     Filing, briefing, and arguing this motion even on the one-week schedule permitted for non-

     dispositive motions would not result in a decision prior to April 26, 2024.

            CERTIFICATE: Undersigned counsel certifies that a good faith effort to narrow or

     eliminate the dispute was undertaken prior to the filing of this motion.
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     Dated: April 17, 2024                Respectfully submitted,

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